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                         IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                  EASTERN DISTRICT OF CALIFORNIA
 9
10        UNITED STATES OF AMERICA,           )                1: 10-CR-0398-AWI-2
                                              )
11                          Plaintiff,        )                ORDER DIRECTING DEPOSIT OF
                v.                            )                FUNDS
12                                            )
          JON VANCE McDADE,                   )
13                                            )
                            Defendant.        )
14        ____________________________________)
15
16              On December 11, 2012, the parties stipulated and on December 12, 2012, the Court
17   ordered that “Defendants shall deposit with the Clerk of the U.S. District Court Check # 5841
18   payable to Jon McDade in the amount of $3,761.05, and that no amount shall be disbursed from
19   Check # 5841 until further order of the Court.” On December 13, 2012, the Clerk of the Court
20   issued a Minute Order that stated: “Pursuant to AO guidelines, the stipulation and order to
21   deposit funds (dkt #73) signed by the undersigned on December 11, 2012 is ordered stiken
22   (sic.).”
23              A review of the record reveals that the problem concerning this check is that the Clerk of
24   the Court may not accept checks made payable to a third party.       Any such check or deposit must
25   be made payable to the “Clerk of the Court”.
26   //
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 1        Accordingly, the Court orders that:
 2        1.       The Minute Order dated December 13, 2012, is VACATED to the extent it
 3                 prohibited Defendants from depositing any funds with the court;
 4        2.       Defendants shall deposit with the Clerk of the Court a check payable to the Clerk
 5                 of the Court in the amount of $3,761.05; and
 6        3.       No amount shall be disbursed from this check until further order of the Court.
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 8   IT IS SO ORDERED.
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     Dated:    January 17, 2013
10   0m8i78                                                  SENIOR DISTRICT JUDGE
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